             Case 2:21-cv-04405-RGK-MAR Document 122-2 Filed 08/09/22 Page 1 of 14 Page ID
                                              #:4418

$2 & 5HY  :DUUDQW E\ 7HOHSKRQH RI 2WKHU 5HOLDEOH (OHFWURQLF 0HDQV                          տ 2ULJLQDO   տ 'XSOLFDWH 2ULJLQDO



                                             81,7(' 67$7(6 ',675,&7 &2857
                                                                                 IRU WKH
                                                                    &HQWUDO 'LVWULFW RI &DOLIRUQLD

                         ,Q WKH 0DWWHU RI WKH 6HDUFK RI
                 (Briefly describe the property to be searched or identify the
                                 person by name and address)                                &DVH 1R 0-
           : 2/<03,& %/9'
          %(9(5/< +,//6 &$/,)251,$




                 :$55$17 %< 7(/(3+21( 25 27+(5 5(/,$%/( (/(&7521,& 0($16
7R       $Q\ DXWKRUL]HG ODZ HQIRUFHPHQW RIILFHU
          $Q DSSOLFDWLRQ E\ D IHGHUDO ODZ HQIRUFHPHQW RIILFHU RU DQ DWWRUQH\ IRU WKH JRYHUQPHQW UHTXHVWV WKH VHDUFK
RI WKH IROORZLQJ SHUVRQ RU SURSHUW\ ORFDWHG LQ WKH &HQWUDO 'LVWULFW RI &DOLIRUQLD (identify the person or describe the property to be searched
and give its location)

       See Attachment A

        , ILQG WKDW WKH DIILGDYLW V  RU DQ\ UHFRUGHG WHVWLPRQ\ HVWDEOLVK SUREDEOH FDXVH WR VHDUFK DQG VHL]H WKH SHUVRQ RU SURSHUW\
GHVFULEHG DERYH DQG WKDW VXFK VHDUFK ZLOO UHYHDO (identify the person or describe the property to be seized)

       See Attachment B

       6XFK DIILGDYLW V RU WHVWLPRQ\ DUH LQFRUSRUDWHG KHUHLQ E\ UHIHUHQFH

          <28 $5( &200$1'(' WR H[HFXWH WKLV ZDUUDQW RQ RU EHIRUH  GD\V IURP WKH GDWH RI LWV LVVXDQFH (not to exceed 14 days)
           LQ WKH GD\WLPH  DP WR  SP                     DW DQ\ WLPH LQ WKH GD\ RU QLJKW EHFDXVH JRRG FDXVH KDV EHHQ HVWDEOLVKHG
        8QOHVV GHOD\HG QRWLFH LV DXWKRUL]HG EHORZ \RX PXVW JLYH D FRS\ RI WKH ZDUUDQW DQG D UHFHLSW IRU WKH SURSHUW\ WDNHQ WR WKH
SHUVRQ IURP ZKRP RU IURP ZKRVH SUHPLVHV WKH SURSHUW\ ZDV WDNHQ RU OHDYH WKH FRS\ DQG UHFHLSW DW WKH SODFH ZKHUH WKH
SURSHUW\ ZDV WDNHQ
        7KH RIILFHU H[HFXWLQJ WKLV ZDUUDQW RU DQ RIILFHU SUHVHQW GXULQJ WKH H[HFXWLRQ RI WKH ZDUUDQW PXVW SUHSDUH DQ LQYHQWRU\
DV UHTXLUHG E\ ODZ DQG SURPSWO\ UHWXUQ WKLV ZDUUDQW DQG LQYHQWRU\ WR WKH 86 0DJLVWUDWH -XGJH RQ GXW\ DW WKH WLPH RI WKH UHWXUQ
WKURXJK D ILOLQJ ZLWK WKH &OHUN V 2IILFH
          3XUVXDQW WR  86&  D E  , ILQG WKDW LPPHGLDWH QRWLILFDWLRQ PD\ KDYH DQ DGYHUVH UHVXOW OLVWHG LQ  86&
  H[FHSW IRU GHOD\ RI WULDO  DQG DXWKRUL]H WKH RIILFHU H[HFXWLQJ WKLV ZDUUDQW WR GHOD\ QRWLFH WR WKH SHUVRQ ZKR RU ZKRVH
SURSHUW\ ZLOO EH VHDUFKHG RU VHL]HG (check the appropriate box)
           IRU       GD\V (not to exceed 30)               XQWLO WKH IDFWV MXVWLI\LQJ WKH ODWHU VSHFLILF GDWH RI                               


'DWH DQG WLPH LVVXHG             March 17, 2021 11:48 a.m.
                                                                                                                 Judge’s signature

&LW\ DQG VWDWH              /RV $QJHOHV &$                                               +RQ 6WHYH .LP 86 0DJLVWUDWH -XGJH
                                                                                                               Printed name and title

$86$ $QGUHZ %URZQ [ WK )ORRU                                                                                 USAO 000001
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  Case 2:21-cv-04405-RGK-MAR Document 122-2 Filed 08/09/22 Page 2 of 14 Page ID
                                   #:4419
$2 & 5HY  :DUUDQW E\ 7HOHSKRQH RI 2WKHU 5HOLDEOH (OHFWURQLF 0HDQV 3DJH 
3DJH 
                                                                           5HWXUQ
&DVH 1R                               'DWH DQG WLPH ZDUUDQW H[HFXWHG                &RS\ RI ZDUUDQW DQG LQYHQWRU\ OHIW ZLWK
0-
,QYHQWRU\ PDGH LQ WKH SUHVHQFH RI 

,QYHQWRU\ RI WKH SURSHUW\ WDNHQ DQG QDPH RI DQ\ SHUVRQ V VHL]HG




                                                                       &HUWLILFDWLRQ


        , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKLV LQYHQWRU\ LV FRUUHFW DQG ZDV UHWXUQHG DORQJ ZLWK WKH RULJLQDO ZDUUDQW WR WKH
GHVLJQDWHG MXGJH



'DWH
                                                                                              Executing officer’s signature


                                                                                                 Printed name and title


                                                                                                           USAO 000002




                                                                    EXHIBIT A
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                           ATTACHMENT  A - USPV
                                  #:4420

    The premises to be searched is:

         The storefront located at 9182 W. OLYMPIC BLVD., BEVERLY
    HILLS, CALIFORNIA, which houses the businesses known as Olympic
    Gold & Jewelry and U.S. Private Vaults in a single retail space
    with only one entrance.   The premises to be searched is a retail
    space in a strip mall located on the south side of Olympic Blvd.
    between S. Palm Drive and S. Oakhurst Drive.    It bears the
    current street number “9182” over the glass entry door on the
    left side of the space, and the former street number “9186”
    towards the right.   Above the premises to be searched on the
    stucco wall is the sign “US PRIVATE VAULTS” in red and blue
    letters.   The front of the premises to be searched is all glass,
    some of it darkly tinted.   The glass windows bear the additional
    signs “OLYMPIC GOLD & JEWELRY” and “US PRIVATE VAULTS.”     The
    premises to be searched is between the stores “Silver Nails” to
    the east and “Mail Service” to the west, and is pictured in the
    attached photographs:




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                                 #:4422




      1                             ATTACHMENT B--USPV
      2   I.   ITEMS TO BE SEIZED
      3        1.   The items to be seized are evidence, contraband, fruits, or
      4   instrumentalities of violations of 18 U.S.C. §§ 371, 1343, and 1956;
      5   21 U.S.C. §§ 841, 846; and 31 U.S.C. §§ 5324 and 5331 (money
      6   laundering, distribution of controlled substances, wire fraud,
      7   structuring, and conspiracy to commit the same) (the “SUBJECT
      8   OFFENSES”), namely:
      9             a.   Narcotics and controlled substances, such as cocaine
     10   and THC, and related paraphernalia such as scales, pay-owe sheets,
     11   packaging material such as vape cartridges, and documents referring
     12   or relating to them, such as their manufacture or sale, or
     13   maintaining premises for the same;
     14             b.   Records referring or relating to countersurveillance
     15   of law enforcement, obstructing investigations, warning persons of
     16   law enforcement inquiries or activities such as serving subpoenas or
     17   search warrants, or hiding, altering, or destroying evidence;
     18             c.   Money counters, cash over $10,000, bitcoin and other
     19   digital currency as well as related documents and programs, and
     20   records referring or relating the preceding items or to IRS form
     21   8300, Currency Transaction Reports and other Bank Security Act (BSA)
     22   requirements, currency reporting requirements generally, structuring
     23   transactions to circumvent those requirements, such as instructions
     24   to keep transactions under $10,000 in cash, anti-money laundering
     25   programs and how to evade them, investigations by financial
     26   institutions and the closure or threatened closure of financial
     27   accounts, and, since 2019, records of cash payments and receipts;
     28
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           1             d.   Firearms, ammunition, and related paraphernalia such
           2   as holsters and magazines, and records referring or relating to the

           3   same;

           4             e.   Documents and records referring or relating to actual

           5   or threatened violence, such as those to enforce a criminal debt;
           6             f.   Documents and records referring or relating to the
           7   conversion of cash to financial instruments such as checks and wire

           8   transfers, and vice versa, for a percentage of the dollar value

           9   converted, including such conversions when there is an intermediate
          10   medium such as precious metals, whether real or purported;

          11             g.   Records reflecting or relating to the escheatment of

          12   property to the state of California including the requirement to do

          13   so, returning property to a named designee, the disposition of

          14   contents of abandoned/unpaid safety deposit boxes, and complaints

          15   that items were missing from a safety deposit box;

          16             h.   Records referring or relating to criminals, crimes,

          17   prison, arrests, criminal investigations, criminal charges, and asset

          18   forfeiture;

          19             i.   Biometric scanning equipment and records, and

          20   documents referring or relating to them;

          21             j.   Digital or video security systems, recordings of

          22   forcing open safety deposit boxes and the removal of contents of

          23   boxes for any purpose including abandonment or incapacity of the

          24   customer and documents referring or relating to the same, and, since

          25   2019, surveillance video;

          26             k.   Nests of safety deposit boxes and keys, and documents

          27   and records referring or relating to them since 2019.   This warrant

          28   does not authorize a criminal search or seizure of the contents of
                                                                    USAO 000006
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           1   the safety deposit boxes.   In seizing the nests of safety deposit
           2   boxes, agents shall follow their written inventory policies to
           3   protect their agencies and the contents of the boxes.    Also in

           4   accordance with their written policies, agents shall inspect the
           5   contents of the boxes in an effort to identify their owners in order
           6   to notify them so that they can claim their property;

           7             l.   Records referring or relating to CARES Act relief

           8   programs, such as the Paycheck Protection Program and Small Business

           9   Administration loans;

          10             m.   Records referring or relating to the ownership or

          11   control of U.S. PRIVATE VAULTS or OLYMPIC GOLD & JEWELRY or parent or

          12   subsidiary entity, including employment records, and records of

          13   corporate actions such as corporate minutes and votes;

          14             n.   Since 2019, documents and records referring or

          15   relating to financial or monetary transactions involving U.S. PRIVATE

          16   VAULTS or OLYMPIC GOLD & JEWELRY, including records referring to or

          17   identifying their customers;
          18             o.   Records referring or relating to Beltran or a cartel,

          19   or since 2019 to MJ Real Estate Investors Inc. (MJRE), Emerald Fund

          20   LLC, Alta Quality Growers, MGP Management, MGP Consulting, MGP

          21   Filling and Packaging, Bachelor Valley Fund LLC, Antares Topanga

          22   Group LLC, dba Valley Collective Care, Rogue Bioscience, and

          23   Sportsware Inc.;

          24             p.   Records relating to wealth and the movement of wealth

          25   since 2019, such as tax returns and forms, crypto-currency accounts

          26   and transfers, other digital wealth storage and transfer methods

          27   including PayPal and Venmo, money orders, brokerage and financial

          28   institution statements, wire transfers, currency exchanges, deposit
                                                                  USAO 000007
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                                 #:4425




           1   slips, cashier's checks, transactions involving prepaid cards, and/or
           2   other financial documents related to depository bank accounts, lines
           3   of credit, credit card accounts, real estate mortgage initial

           4   purchase loans or loan refinances, residential property leases,
           5   escrow accounts, the purchase, sale, or leasing of automobiles or
           6   real estate, or auto loans, and investments, or showing or referring

           7   to purchases or transactions for more than $1,000;
           8             q.   Records or items containing indicia of occupancy,

           9   residency or ownership of any location or vehicle being searched,
          10   such as keys, rental agreements, leases, utility bills, identity

          11   documents, cancelled mail, and surveillance video;

          12             r.   Documents and records showing electronic and telephone

          13   contacts and numbers called or calling, such as SIM cards, address

          14   books, call histories, telephone bills, and Signal, ICQ, Telegram,

          15   and email addresses.

          16             s.   Any digital device which is itself or which contains

          17   evidence, contraband, fruits, or instrumentalities of the Subject

          18   Offenses, and forensic copies thereof.

          19        2.   With respect to any digital device containing evidence

          20   falling within the scope of the foregoing categories of items to be

          21   seized:

          22             a.   evidence of who used, owned, or controlled the device

          23   at the time the things described in this warrant were created,

          24   edited, or deleted, such as logs, registry entries, configuration

          25   files, saved usernames and passwords, documents, browsing history,

          26   user profiles, e-mail, e-mail contacts, chat and instant messaging

          27   logs, photographs, and correspondence;

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           1             b.   evidence of the presence or absence of software that
           2   would allow others to control the device, such as viruses, Trojan

           3   horses, and other forms of malicious software, as well as evidence of

           4   the presence or absence of security software designed to detect

           5   malicious software;
           6             c.   evidence of the attachment of other devices;
           7             d.   evidence of counter-forensic programs (and associated

           8   data) that are designed to eliminate data from the device;

           9             e.   evidence of the times the device was used;
          10             f.   passwords, encryption keys, biometric keys, and other

          11   access devices that may be necessary to access the device;

          12             g.   applications, utility programs, compilers,

          13   interpreters, or other software, as well as documentation and

          14   manuals, that may be necessary to access the device or to conduct a

          15   forensic examination of it;

          16             h.   records of or information about Internet Protocol

          17   addresses used by the device;

          18             i.   records of or information about the device’s Internet

          19   activity, including firewall logs, caches, browser history and

          20   cookies, “bookmarked” or “favorite” web pages, search terms that the

          21   user entered into any Internet search engine, and records of user-

          22   typed web addresses.

          23        3.   As used herein, the terms “records,” “documents,”

          24   “programs,” “applications,” and “materials” include records,

          25   documents, programs, applications, and materials created, modified,

          26   or stored in any form, including in digital form on any digital

          27   device and any forensic copies thereof.

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            1         4.   As used herein, the term “digital device” includes any
            2   electronic system or device capable of storing or processing data in

            3   digital form, including central processing units; desktop, laptop,

            4   notebook, and tablet computers; personal digital assistants; wireless

            5   communication devices, such as telephone paging devices, beepers,
            6   mobile telephones, and smart phones; digital cameras; gaming consoles

            7   (including Sony PlayStations and Microsoft Xboxes); peripheral

            8   input/output devices, such as keyboards, printers, scanners,

            9   plotters, monitors, and drives intended for removable media; related

           10   communications devices, such as modems, routers, cables, and

           11   connections; storage media, such as hard disk drives, floppy disks,

           12   memory cards, optical disks, and magnetic tapes used to store digital

           13   data (excluding analog tapes such as VHS); and security devices.

           14   II.   SEARCH PROCEDURE FOR DIGITAL DEVICES
           15         5.   In searching digital devices or forensic copies thereof,

           16   law enforcement personnel executing this search warrant will employ

           17   the following procedure:

           18              a.   Law enforcement personnel or other individuals

           19   assisting law enforcement personnel (the “search team”) will, in

           20   their discretion, either search the digital device(s) on-site or

           21   seize and transport the device(s) and/or forensic image(s) thereof to

           22   an appropriate law enforcement laboratory or similar facility to be

           23   searched at that location.   The search team shall complete the search

           24   as soon as is practicable but not to exceed 120 days from the date of

           25   execution of the warrant.    The government will not search the digital

           26   device(s) and/or forensic image(s) thereof beyond this 120-day period

           27   without obtaining an extension of time order from the Court.

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       1                b.   The search team will conduct the search only by using
       2   search protocols specifically chosen to identify only the specific
       3   items to be seized under this warrant.
       4                     i.    The search team may subject all of the data
       5   contained in each digital device capable of containing any of the
       6   items to be seized to the search protocols to determine whether the
       7   device and any data thereon falls within the list of items to be
       8   seized.   The search team may also search for and attempt to recover
       9   deleted, “hidden,” or encrypted data to determine, pursuant to the
      10   search protocols, whether the data falls within the list of items to
      11   be seized.
      12                     ii.   The search team may use tools to exclude normal
      13   operating system files and standard third-party software that do not

      14   need to be searched.
      15                     iii. The search team may use forensic examination and
      16   searching tools, such as “EnCase” and “FTK” (Forensic Tool Kit),
      17   which tools may use hashing and other sophisticated techniques.
      18                c.   If the search team, while searching a digital device,
      19   encounters immediately apparent contraband or other evidence of a
      20   crime outside the scope of the items to be seized, the team will not
      21   search for similar evidence outside the scope of the items to be
      22   seized without first obtaining authority to do so.
      23                d.   If the search determines that a digital device does
      24   not contain any data falling within the list of items to be seized,
      25   the government will, as soon as is practicable, return the device and
      26   delete or destroy all forensic copies thereof.

      27                e.   If the search determines that a digital device does

      28   contain data falling within the list of items to be seized, the
                                                                 USAO 000011
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       1   government may make and retain copies of such data, and may access
       2   such data at any time.

       3             f.   If the search determines that a digital device is (1)
       4   itself an item to be seized and/or (2) contains data falling within
       5   the list of other items to be seized, the government may retain the
       6   digital device and any forensic copies of the digital device, but may
       7   not access data falling outside the scope of the other items to be
       8   seized (after the time for searching the device has expired) absent
       9   further court order.
      10             g.   The government may also retain a digital device if the
      11   government, prior to the end of the search period, obtains an order
      12   from the Court authorizing retention of the device (or while an
      13   application for such an order is pending), including in circumstances

      14   where the government has not been able to fully search a device
      15   because the device or files contained therein is/are encrypted.
      16             h.   After the completion of the search of the digital
      17   devices, the government shall not access digital data falling outside
      18   the scope of the items to be seized absent further order of the
      19   Court.
      20        6.   The review of the electronic data obtained pursuant to this

      21   warrant may be conducted by any government personnel assisting in the
      22   investigation, who may include, in addition to law enforcement
      23   officers and agents, attorneys for the government, attorney support
      24   staff, and technical experts.   Pursuant to this warrant, the
      25   investigating agency may deliver a complete copy of the seized or
      26   copied electronic data to the custody and control of attorneys for
      27   the government and their support staff for their independent review.

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       1        7.   In order to search for data capable of being read or
       2   interpreted by a digital device, law enforcement personnel are
       3   authorized to seize the following items:
       4             a.   Any digital device capable of being used to commit,
       5   further, or store evidence of the offense(s) listed above;
       6             b.   Any equipment used to facilitate the transmission,
       7   creation, display, encoding, or storage of digital data;
       8             c.   Any magnetic, electronic, or optical storage device
       9   capable of storing digital data;
      10             d.   Any documentation, operating logs, or reference
      11   manuals regarding the operation of the digital device or software
      12   used in the digital device;
      13             e.   Any applications, utility programs, compilers,

      14   interpreters, or other software used to facilitate direct or indirect
      15   communication with the digital device;
      16             f.   Any physical keys, encryption devices, dongles, or
      17   similar physical items that are necessary to gain access to the
      18   digital device or data stored on the digital device; and
      19             g.   Any passwords, password files, biometric keys, test
      20   keys, encryption codes, or other information necessary to access the

      21   digital device or data stored on the digital device.
      22        8.   During the execution of this search warrant, law

      23   enforcement is permitted to: (1) depress the thumbs and/or fingers of
      24   MARK PAUL, MICHAEL POLIAK, GEORGE VASQUEZ, and HILLARY and STEVE
      25   BARTH onto the fingerprint sensor of the device (only when the device
      26   has such a sensor), and direct which specific finger(s) and/or
      27   thumb(s) shall be depressed; and (2) hold the device in front of the

      28   face of those persons with their eyes open to activate the facial-,
                                                             USAO 000013
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       1   iris-, or retina-recognition feature, in order to gain access to the
       2   contents of any such device.   In depressing a person’s thumb or

       3   finger onto a device and in holding a device in front of a person’s
       4   face, law enforcement may not use excessive force, as defined in
       5   Graham v. Connor, 490 U.S. 386 (1989); specifically, law enforcement
       6   may use no more than objectively reasonable force in light of the
       7   facts and circumstances confronting them.
       8        9.   The special procedures relating to digital devices found in
       9   this warrant govern only the search of digital devices pursuant to
      10   the authority conferred by this warrant, and do not apply to any
      11   other search of digital devices.
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